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 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      2:11-CR-00510-02 WBS
                                     )
12             Plaintiff,            )      PRELIMINARY ORDER OF
                                     )      FORFEITURE
13        v.                         )
                                     )
14   STEVEN GEIGER NEWLOVE,          )
                                     )
15             Defendant.            )
     ________________________________)
16
17        Based upon the entry of plea and the application for
18   preliminary order of forfeiture entered into between plaintiff
19   United States of America and defendant Steven Geiger Newlove, it
20   is hereby ORDERED, ADJUDGED AND DECREED as follows:
21        1.   Pursuant to 18 U.S.C. §§ 492 and 982(a)(2)(B) and 28
22   U.S.C. § 2461(c), defendant Steven Geiger Newlove’s interest in
23   the following property shall be condemned and forfeited to the
24   United States of America, to be disposed of according to law:
25              a.   Approximately $10,400 in counterfeit federal
                     reserve notes;
26
                b.   Toshiba laptop, serial number 9A103463W;
27
                c.   Kyocera cell phone, Model C5120, DEC: 268-435-457-
28                   811-534-523;

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 1              d.     LG cell phone serial number 012KPLC218568; and
 2              e.     2 HP Photosmart printers.
 3        2.   The above-listed property constitutes counterfeits of
 4   obligations or other securities of the United States or any
 5   articles, devices, and other things made, possessed, or used in
 6   violation of 18 U.S.C. § 471.
 7        3.   Pursuant to Rule 32.2(b), the Attorney General (or a
 8   designee) shall be authorized to seize the above-listed property.
 9   The aforementioned property shall be seized and held by the U. S.
10   Secret Service, in its secure custody and control.
11        4.   a.    Pursuant to 18 U.S.C. § 982(b)(1) and 28 U.S.C. §
12   2461(c), incorporating 21 U.S.C. § 853(n), and Local Rule 171,
13   the United States shall publish notice of the order of
14   forfeiture.     Notice of this Order and notice of the Attorney
15   General’s (or a designee’s) intent to dispose of the property in
16   such manner as the Attorney General may direct shall be posted
17   for at least 30 consecutive days on the official internet
18   government forfeiture site www.forfeiture.gov.        The United States
19   may also, to the extent practicable, provide direct written
20   notice to any person known to have alleged an interest in the
21   property that is the subject of the order of forfeiture as a
22   substitute for published notice as to those persons so notified.
23              b.    This notice shall state that any person, other than
24   the defendant, asserting a legal interest in the above-listed
25   property, must file a petition with the Court within sixty (60)
26   days from the first day of publication of the Notice of
27   Forfeiture posted on the official government forfeiture site, or
28   within thirty (30) days from receipt of direct written notice,

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 1   whichever is earlier.
 2        5.   If a petition is timely filed, upon adjudication of all
 3   third-party interests, if any, this Court will enter a Final
 4   Order of Forfeiture pursuant to 18 U.S.C. §§ 492 and 982(a)(2)(B)
 5   and 28 U.S.C. § 2461(c) in which all interests will be addressed.
 6        SO ORDERED this 16th day of May, 2012.
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